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                                                                    DAVIDSON CO. CHANCERY CT.

                           IN THE TENNESSEE CHANCERY COURT
                          FOR THE TWENTIETH JUDICIAL DISTRICT
                                    BUSINESS COURT

FAMILY TRUST SERVICES LLC,
STEVEN REIGLE, REGAL HOMES CO.,
BILLY GREGORY, and JOHN
SHERROD, on behalf of themselves
and those similarly situated,

         Plaintiffs,

v.                                               Case No. 15-780-BC

REO HOLDINGS LLC, CHARLES E.                     Jury Demand
WALKER, JON PAUL JOHNSON,
JULIE COONE, NATIONWIDE
INVESTMENTS LLC, and MERDAN
IBRAHIM,

         Defendants.

  MOTION TO AMEND, FOR PREJUDGMENT ATTACHMENT, AND TO
 LIFT STAY OF ENFORCEMENT OF CRIMINAL CONTEMPT SENTENCE
            AND MEMORANDUM IN SUPPORT THEREOF

        The plaintiffs, pursuant to Tenn. R. Civ. P. 15, Tenn. Code Ann. §§ 29-6-101

and 106, and this Court’s Orders filed February 29, 2016, and October 23, 2018, re-

spectfully move the Court (a) to grant plaintiffs leave to file the Fourth Amended

and Restated Complaint attached as Exhibit 1 hereto; (b) to attach certain real

property Charles E. Walker owns; and (c) to lift the stay of enforcement of this

Court’s criminal contempt sentence against Charles E. Walker. In support of this

Motion, plaintiffs state as follows:




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                              RELEVANT BACKGROUND

        1.    On April 1, 2019, to the surprise of no one, the U. S. District Court for the

Middle District of Tennessee remanded this case to this Honorable Court following

Charles E. Walker’s baseless removal of this action to federal court on September

13, 2018. The Clerk of the U. S. District Court for the Middle District of Tennessee

filed a certified copy of the Order of remand on April 4, 2019.

        2.    Plaintiffs are now before the Court seeking relief necessary to move this

case forward expeditiously and to enforce this Court’s prior criminal contempt sen-

tence against Mr. Walker. Specifically, plaintiffs seek leave to file a Fourth Amend-

ed and Restated Complaint (Exhibit 1 hereto)(voluminous attachments omitted), to

attach certain real property currently titled to Charles E. Walker, and to lift the

stay this Court imposed on Mr. Walker’s criminal contempt sentence following re-

moval. At the outset, however, it is appropriate to summarize events relevant to

this case that have occurred since the parties were last before the Court.

        3.    On August 31, 2018, plaintiffs filed and served a Motion on behalf of pu-

tative class member Carl Chambers to add as parties to this case, and to assert

claims against, Charles E. Walker and Jon Paul Johnson. (The Court will recall

that the existing plaintiffs settled their individual claims against REO Holdings,

LLC, Walker and Johnson in Bankruptcy Court, leaving Nationwide Investments,

LLC, Julie Coone and Merdan Ibrahim as the only remaining defendants in this

case. REO Holdings, LLC has not yet emerged from bankruptcy and thus putative




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class members not parties to the bankruptcy case are not yet able to file legal claims

against it.)

        4.    On September 5, 2018, Walker and Johnson formed a new limited liabil-

ity company in Delaware by the name of Green Wise Homes, LLC (“Green Wise”).

See Exhibit 2.

        5.    On September 6, 2018, Walker transferred to Green Wise via Quitclaim

Deed fourteen parcels of real property in Davidson County. See Exhibit 3. Immedi-

ately prior to the transfer, Walker held title to such property in his own name, mak-

ing such property easily accessible to any executing creditor. The Quitclaim Deed

recited that Walker transferred the properties "to satisfy an antecedent debt” he

owed to Green Wise. At the time of this transfer, Green Wise had existed for only a

few hours.

        6.    On September 12, 2018, Johnson transferred to Green Wise via Quit-

claim Deed two additional parcels of real property in Davidson County. See Exhibit

4. Immediately prior to the transfer, Johnson held title to such property in his own

name, making such property easily accessible to any executing creditor. The Quit-

claim Deed similarly recited that Johnson transferred the properties "to satisfy an

antecedent debt” he owed to Green Wise, which by this time had existed for all of

one week.

        7.    Also on September 12, 2018, no response having been filed to plaintiffs’

Motion to Add Parties, plaintiffs tendered to the Court and served a proposed order

granting the unopposed Motion. If the Court filed the proposed order and plaintiffs




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filed the proposed Fourth Amended and Restated Complaint, Walker and Johnson

would have, once again, become defendants in this putative class action proceeding.

        8.    On September 13, 2018, before the Court could even act on the proposed

order, Walker filed a bogus Notice of Removal, effectively placing this case on ice

until plaintiffs could obtain a remand order from the federal court. Coincidentally,

on September 13, 2018, the Supreme Court of Tennessee denied Walker’s applica-

tion for permission to appeal his conviction for criminal contempt.

        9.    On April 1, 2019, after an excruciating delay of 6 ½ months, the federal

court filed its Order remanding this case to this Honorable Court.

        10. On April 4, 2019, concerned that Green Wise may liquidate its real estate

holdings in response to the remand, plaintiff’s counsel, on behalf of putative class

member Debra Irvin, filed a fraudulent transfer against Green Wise, Walker, John-

son, Coone, Nationwide, and others, and affixed a lien lis pendens to the real prop-

erty. See Exhibit 5. That action was randomly assigned to Part IV of this court. As

detailed in that Complaint, the conduct of Walker, Julie Coone, and the other de-

fendants, with respect to Mrs. Irvin is perhaps the most heinous this Court has like-

ly encountered with regard to these defendants.

        11. Plaintiffs now file this Motion to bring current the allegations of the com-

plaint, to add Green Wise, Walker, and Johnson as parties to this case, to attach

certain real property Walker owns, and to lift the stay of enforcement of Walker’s

criminal contempt conviction.




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                          RELIEF REQUESTED

        12. Motion to Amend: Plaintiffs seek leave to file the Fourth Amended and

Restated Complaint attached as Exhibit 1. This proposed amended complaint dif-

fers from the current operative pleading in four principal respects. First, the pro-

posed amended complaint seeks to add Carl Chambers as a plaintiff. Carl Cham-

bers seeks to join this action as a plaintiff to assert claims against Charles E. Walk-

er, Jon Paul Johnson, and Green Wise. Mr. Chambers is the grandson, and a lawful

heir, of Maggie Chambers. Maggie Chambers formerly owned real property at 2131

11th Avenue North, Nashville, Tennessee. Section C. 2. of the Fourth Amended and

Restated Complaint details the manner in which Walker and REO Holdings, LLC

fraudulently acquired this property. Walker and REO Holdings, LLC duped the

Metro Legal Department and this Court into believing that they had lawfully ac-

quired from the heirs of Maggie Chambers the right to redeem the property at 2131

11th Avenue North. See Fourth Amended Complaint, Ex. 2C. Walker and REO re-

deemed the property for a meager $2,194.49 and then flipped it for $28,000. They

accomplished this feat using their trademark forged-notary scheme. This conduct

inflicted significant harm on Mr. Chambers, a life-long resident of Nashville, and

his family. Walker and REO Holdings stole the right to redeem this property for the

modest sum of $2,194.49 and then shortly thereafter made a ten-fold return on their

investment.

        13. Second, Mr. Chambers seeks to pursue claims against Walker, Johnson

and Green Wise, for their fraudulent transfer of assets to Green Wise on September




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6, 2018, and September 12, 2018, respectively. The proposed Fourth Amended and

Restated Complaint attaches a lien lis pendens to the sixteen parcels of real estate

Walker and Johnson transferred to this newly created Delaware limited liability

company.

        14. Third, the proposed amended complaint contains detailed allegations re-

garding the singularly egregious conduct in which Walker, Johnson, Coone and Na-

tionwide engaged concerning putative class member Debra Irvin. Although these

facts are now at issue in Case No. 19-470-IV, such facts are integral to the allega-

tions forming the basis of plaintiffs’ request to have this case certified as a class ac-

tion.

        15. Fourth, the proposed amended complaint removes plaintiffs’ claim under

the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961

et seq. Plaintiffs propose to remove the claim not because it is deficient in any re-

spect (indeed, that claim was the raison d’etre of the settlement the individual

plaintiffs reached with Walker’s Bankruptcy Trustee) but rather to remove one level

of complexity from an increasingly complex case.

        16. Motion for Prejudgment Attachment:            On February 29, 2016, this

Court filed a Memorandum and Order that attached 37 parcels of real property de-

fendants REO Holdings, LLC and Charles E. Walker owned at the time. Later that

same day, and in direct response to the Court’s Order, Walker and REO filed Chap-

ter 11 bankruptcy petitions in the U. S. Bankruptcy Court for the Western District

of Tennessee. The Bankruptcy Trustees appointed in those cases sold many of the




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parcels to fund the debtors’ $825,000 settlement of certain individual claims former-

ly asserted in this action and the more than $1,000,000 in fees and expenses Walker

and REO were ultimately ordered to pay to the Trustees and their counsel in the

bankruptcy cases. The basis for this Court’s prejudgment attachment of those par-

cels is just as compelling today as it was on February 29, 2016. Indeed, the basis for

attachment is even stronger today because (a) Walker and Johnson have even more

recently effected another fraudulent transfer to another newly formed entity; (b) the

harm Walker has caused to class members, including Carl Chambers and Debra Ir-

vin, is as egregious as that perpetrated against the original named plaintiffs and

putative class members; and (c) the threat Walker poses to the ability of the indi-

vidual plaintiffs and putative class members to satisfy a judgment against him re-

mains acute. Because of his recalcitrance in the bankruptcy court Walker has al-

ready paid out more than $1,000,000 in fees and expenses to the bankruptcy trus-

tees and their counsel, making a full recovery of the damages a jury is likely to

award against him in this action even more tenuous.

        17. Plaintiffs therefore seek prejudgment attachment of the five remaining

parcels of real estate in Davidson County currently titled to Walker individually.1

The basis for the attachment consists of the record that supported this Court’s

Memorandum and Order filed February 29, 2016. Walker’s recent skullduggery

with the September 6, 2018, transfer of assets to a newly created, out of state enti-

ty, Green Wise Homes, LLC, and his bogus removal of this action to federal court,


1These five parcels were among the 37 parcels the Court attached on February 29, 2016.
Plaintiffs have listed such parcels on Exhibit 6 hereto.


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which can only be seen as an effort to delay these proceedings and inflict still fur-

ther harm upon plaintiffs, provide further support for the attachment.

        18. Motion to Lift Stay: On October 23, 2018, in deference to the Notice of

Removal Walker filed September 13, 2018, this Court stayed enforcement of the

criminal contempt sentence this Court previously imposed upon Walker, which sen-

tence the Tennessee Court of Appeals upheld in all respects.      Because the federal

court has now remanded this case to this Honorable Court, this Court should lift the

stay of enforcement and should set a date certain for Walker to pay the $50 fine he

owes and to surrender himself to the custody of the Court to serve his two-day term

of confinement.



                                               Respectfully submitted,


                                               s/ Eugene N. Bulso, Jr.
                                               Eugene N. Bulso, Jr. (BPR No. 12005)
                                               Paul J. Krog (No. 29263)
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                             NOTICE OF HEARING

PLAINTIFFS EXPECT THE COURT TO HEAR THIS MOTION ON THE
REGULAR MOTION DOCKET OF PART III OF THE DAVIDSON COUNTY
CHANCERY COURT AT THE DAVIDSON COUNTY COURTHOUSE AT 9:00
A.M. ON FRIDAY, MAY 3, 2019. FAILURE TO FILE AND SERVE A TIMELY
RESPONSE WILL RESULT IN THE MOTION BEING GRANTED WITHOUT
A HEARING.




                          CERTIFICATE OF SERVICE

      I certify that I have this date, April 17, 2019, served the foregoing via e-mail
upon the following:
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                                       s/ Eugene N. Bulso, Jr.
                                       Eugene N. Bulso, Jr.




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